           Case 5:21-cv-00020-gwc Document 1 Filed 01/29/21 Page 1 of 5
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                                                                                2021 JAN 29 ~H t2: 02
                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF VERMONT


 Mark Davidson                                                    Civil Action No.:                      5'.21-cv -20
                 Plaintiff
                 v.
 TN Holdings Stowe, LLC d/b/a Topnotch
 Resort
                 Defendants

                             COMPLAINT AND JURY DEMAND

NOW COMES Plaintiff, Mark Davidson, by and through his attorneys Biggam, Fox

& Skinner and hereby complains against Defendant, TN Holdings Stowe, LLC as

follows:

                                           THE PARTIES

   1. Plaintiff Mark Davidson (hereinafter referred to as "Plaintiff') is a resident of

       Worcester, Massachusetts.

   2. On information and belief Defendant TN Holdings Stowe, LLC (hereinafter

       referred to as "Defendant") is a foreign limited liability company with its

       residency in the State of Delaware a federal judicial district other than the

       Federal Judicial District of Vermont.

   3. Defendant is not registered to do business with the Secretary of State in the

       State of Vermont.
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         Case 5:21-cv-00020-gwc Document 1 Filed 01/29/21 Page 2 of 5




 4. Topnotch Resort (hereinafter referred to as "Topnotch") is the trade-name

     under which, on information and belief, Defendant did, at all times material

     to the factual allegations hereafter made, own and operate a resort and spa in

     the County of Lamoille, Town of Stowe and State of Vermont.

 5. Topnotch was not registered as a trade-name with the Secretary of State in

     the State of Vermont at times material to the factual allegations hereafter

     made.


                           JURISDICTIONAL ALLEGATIONS

 6. Jurisdiction is conferred over this cause by 28 U.S.C. 1332(a)(l) as there

     exists a diversity of citizenship between the parties and the amount in

     controversy, exclusive of interest and costs, exceeds $75,000.

 7. Venue is appropriate pursuant to 28 U. S.C. § 1391(b)(2) because a

     substantial part of the events or omissions giving rise to the claim occurred in

     this judicial district.

                                 FACTUAL ALLEGATIONS

 8. On February 25, 2018 Plaintiff was a guest at Topnotch. At approximately

     8:30am Plaintiff left his room and walked toward the parking lot along a

     walk that lead past the Topnotch spa.

 9. As Plaintiff neared the end of the walk he slipped and fell.



                                                                                             21Page

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         Case 5:21-cv-00020-gwc Document 1 Filed 01/29/21 Page 3 of 5




 10. The walk had a layer of snow which covered ice beneath and which made the

     walk slippery.

 11. There was no warning sign alerting Plaintiff to the icy walk.

 12.No one from Topnotch informed Plaintiff of the icy walk.

 13. Defendant failed to properly maintain the walk where Plaintiff fell to assure

     that Plaintiff would not suffer injury while a guest at Defendant's property.

 14.Defendant knew, or should have known, that an icy walk posed a danger to

     Plaintiff.

 15. Defendant breached its duty to Plaintiff in that it failed to maintain the

     premise in safe and suitable condition.

 16.Defendant's failure to maintain the walk was negligent.

                                               DAMAGES

 17. As a direct and proximate result of Defendant's negligence, Plaintiff

     sustained serious bodily injuries. Plaintiffs damages include, without

     limitation, the following:

          a. Immediate and continuing physical injuries some of which are

              permanent in nature;

          b. Damage in the ability to enjoy life;

          c. Pain and suffering

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            Case 5:21-cv-00020-gwc Document 1 Filed 01/29/21 Page 4 of 5




            d. Loss of income; and

            e. Medical costs and expenses.

                                                  COUNTI

             (Negligence in allowing an icy walk where a guest would likely walk)

 18. Defendant had a duty of active care to make sure that the premises were in

     safe and suitable condition for the benefit of its guests.

 19. Defendants breached this duty.

 20. Defendant maintained the subject premises in a negligent manner by

     permitting the walk to be icy in an area where guests walked to the parking

     lot.

 21.Defendant knew, or should have known, that an icy walk posed a danger to

     its guests because of the likelihood that someone would fall.

                                              COUNT II

                                 (Negligence in failing to warn)

 22. Defendant had a duty of active care to make sure that the premises were in

     safe and suitable condition for the benefit of guests.

 23. Defendants breached this duty.

 24.Defendants knew, or should have known, that an icy walk posed a danger to

     its guests because of the likelihood that someone would fall

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               Case 5:21-cv-00020-gwc Document 1 Filed 01/29/21 Page 5 of 5




      25. Defendant maintained the subject premises in a negligent manner by failing

          to place a warning sign near icy areas on the walk to alert its guests of a risk

          of falling.

WHEREFORE, Plaintiff prays:

I.        For judgment in a sum sufficient to compensate him for the past and future

          damages he has suffered or will suffer as a result of Defendant's negligent

          acts, including and not limited to the following:

          a.      An award for permanent injury;

          b.      An award for past and future pain and suffering;

          c.      An award for past and future medical expenses;

          d.      An award for loss of ability to enjoy life; and

          e.      An award for lost wages and/or lost earning capacity.

2.        For costs of suit.

3.        For TRIAL BY JURY.

4.        For such other and further relief as to this Honorable Court seems just and

          proper.

January 28, 2021
Montpelier, Vermont
                                                   Respectfully submitted,
                                                   Biggam, Fox & Skinner
                                                   Attorneys for Mark Davidson
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                                           By:
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                                                   Ronald A. Fox
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